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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF LOUISIANA
                                 LAFAYETTE DIVISION
  ____________________________________
                                        )
  STATE OF LOUISIANA, et al.,           )
                                        )
                           Plaintiffs,  )
                                        )
              v.                        )   Civil Action No. 6:22-CV-00885-RRS-CBW
                                        )
  CENTERS FOR DISEASE CONTROL           )
  & PREVENTION, et al.,                 )
                                        )
                           Defendants.  )
  _____________________________________)

                                        NOTICE OF APPEAL
         PLEASE TAKE NOTICE that Defendants hereby appeal to the United States Court of

  Appeals for the Fifth Circuit from this Court’s May 20, 2022 Memorandum Opinion and Order (ECF

  Nos. 90 & 91) granting Plaintiffs’ motion for preliminary injunction.



  Dated: May 20, 2022                                   Respectfully submitted,

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                                                        U.S. Department of Justice, Civil Division

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